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(Gov. Mem. at 20). The government suggests that purchasing a home using a trust and providing

a pseudonym to a real estate broker are indicative of her willingness and ability to live in hiding

and somehow forecast Ms. Maxwell’s intention to flee. (Id.). These arguments are just further

evidence that the government will frame every fact about Ms. Maxwell in the worst possible

light. As the defense has already argued extensively in its initial brief, these steps were borne

out of necessity to protect Ms. Maxwell and her family from harassment and physical threats.

Moreover, they are not predictive of flight. There is simply no basis to conclude, based on the

measures that Ms. Maxwell was forced to take to protect herself and her family, that she would

then willingly abandon that family to become a fugitive from justice. To the contrary, she

remained in the country precisely to remain close to them and to defend her case.

       D.      Refusal of Extradition from France or the United Kingdom Is Highly
               Unlikely

       The government dismisses Ms. Maxwell’s willingness to waive her extradition rights as

to France and the United Kingdom as “meaningless” because Ms. Maxwell cannot guarantee

with absolute certainty that either country will enforce the waiver. (Gov. Mem. at 14). The

government misses the point: Ms. Maxwell’s willingness to do everything she can to eliminate

her ability to refuse extradition to the fullest extent possible demonstrates her firm commitment

to remain in this country to face the charges against her and, as Ms. Maxwell’s French and U.K.

experts confirm, there is every reason to believe that both authorities would consider the waiver

as part of any extradition request.

       In an attempt to counter William Julié’s expert report stating it is “highly unlikely” that

the French government would refuse to extradite Ms. Maxwell (Def. Mem., Ex. V at 2), the

government attaches a letter from the French Ministry of Justice (“MOJ”) that references neither

Mr. Julié’s report nor Ms. Maxwell, but states generally that the French Code of Criminal

Procedure “absolutely prohibits” the extradition of a French national. (Gov. Mem., Ex. B). But

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